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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
      v.                                        )                          24-cv-612
                                                           Civil Case No. _____________
                                                )
MICHAEL DICIURCIO,                              )
                                                )
              Defendant.                        )
                                                )


                       DECLARATION OF MICHAEL D. BAUER
     1.      I, Michael D. Bauer, am a Principal Maintenance Inspector (“PMI”) in the Federal

Aviation Administration (“FAA”). I began my employment for the FAA on May 10, 2010, as

an Aviation Safety Inspector. The FAA is charged with regulating the operation of commercial

and recreational aircraft, including small Unmanned Aircraft Systems (“sUAS”), also referred

to as “drones.”

     2.      My overall responsibility is to ensure that all aviation operators are adhering to

federal safety regulations within the national airspace.

     3.      I am currently assigned as the sUAS Focal Point at the Philadelphia Flight and

Standards Office.

     4.      I have been flying unmanned model aircraft since 1970 and I hold certifications as

an Airframe and Powerplant Mechanic, private and remote pilot; and from The Recreational

UAS Safety Test (“TRUST”).

     5.      In addition to my sUAS responsibility, I have regulatory oversight specifically

over maintenance programs and enforce the maintenance standards of four air carriers (that

carry passengers); fifteen certificated repair stations (where specific aircraft components and
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aircrafts are repaired); one school for aircraft mechanic technicians; and seventy-eight general

aviation air operators (banner towers, sightseeing rides, crop dusters, aircraft used for specific

jobs).

      6.      As a PMI, I also provide policy assistance for the development and

implementation of standards, programs, and procedures for aviation safety guidance to the

public. I also provide in-house training for sUAS inspectors and to help educate the sUAS

operators in the general public to follow the regulations and operate safely in the national

airspace.

      7.      As part of my duties as a PMI, I conduct investigations of accidents and

complaints received from members of the public. In the course of an FAA investigation, I have

the ability to conduct surveillance of air carriers and air agencies (i.e., flight schools, repair

stations, etc.), for possible regulatory violations and to ensure that they are following the

federal aviation regulations. I also conduct interviews and draft correspondence and reports.

                                       The Rules and Regulations

      8.      Operators of sUAS can be either recreational flyers, or certificated remote pilots.

If the operator flies solely for recreational purposes he/she must pass the TRUST test, follow

the rules for recreational flyers, and register the sUAS as necessary. For operators flying for

commercial, government, or any other non-recreational purpose, the operator must learn the

rules for certificated remote pilots, become a certificated remote pilot by taking and passing the

remote pilot knowledge test, and register the sUAS. An explanation of the two types of sUAS

operators, the rules for each type of operator, and much more information about operating

sUAS is found on the FAA website at https://www.faa.gov/uas/getting_started .
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     9.      Certificated remote pilots flying sUAS for non-recreational purposes are regulated

under 14 C.F.R. Part 107, which provides in part that no person may operate an unmanned

aircraft system in a careless or reckless manner. 14 C.F.R. § 107.23.

     10.     If an operator flies a sUAS solely for recreational purposes as a hobbyist, no Part

107 certificate is required. However, the recreational sUAS operator must adhere to the

requirements of 49 U.S.C. § 44809, including passing a TRUST test to qualify as a limited

recreational flyer. In addition, recreational flyers must adhere to the safety guidelines of a

Community Based Organization (“CBO”) for operating the sUAS in a safe manner.

     11.     A CBO is a membership based organization that has developed safety guidelines

in coordination with the FAA that recreational flyers are expected to follow voluntarily.

Recently, the FAA endorsed the safety guidelines developed by the Academy of Model

Aeronautics. In addition, typically, sUAS products come with an operations guide which

includes printed safety guidelines which closely track the statute and regulations.

     12.     Recreational flyers must not operate a sUAS in a manner that endangers the

national airspace system; they must fly at or below 400 feet, and keep the sUAS within the

visual line of sight. The operator must obtain prior authorization before operating in certain

airspace, such as near an airport. Any airspace identified by letter is controlled airspace (Class

A, B, C, D, E, and over 400 feet in Class G); operators need advance permission to fly in

controlled airspace. Most of metro Philadelphia is in controlled airspace. More information is

available at https://www.faa.gov/uas/recreational_flyers .

     13.     If a sUAS operator does not conform to the limitations set forth in 49 U.S.C. §

44809(a), he/she must comply with all generally applicable statutes and regulations governing

sUAS operations (i.e., 14 C.F.R. Part 107). 49 U.S.C. § 44809(b).
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                                         Violations 2019-2020

     14.     On January 29, 2020, I was assigned to investigate a complaint sent to the FAA’s

Philadelphia Flight and Standards Office regarding Michael DiCiurcio operating his sUAS in

an unsafe manner. I opened Enforcement Case 2020EA170009.

     15.     As part of my investigation, I referred to the file for the investigation of an earlier

complaint; on August 12, 2019, the FAA’s Philadelphia Flight and Standards Office opened

Enforcement Case 2020EA170001. The earlier investigation related to a complaint describing

DiCiurcio’s dangerous operation of his sUAS demonstrated in video posts on his YouTube

channel, PhillyDroneLife. I accessed the YouTube channel to view the video; the operator in

the video recording of the August 10, 2019 flight identifies himself as Michael DiCiurcio. In

the video, he records a sUAS flight over people and moving vehicle traffic. Additional videos

posted to the PhillyDroneLife channel that I viewed show recordings of sUAS flights over

skyscrapers in central Philadelphia, and in adverse weather conditions.

     16.     The file for Enforcement Case 2020EA170001 includes records of the FAA

contacting DiCiurcio, speaking with him by telephone, and offering DiCiurcio in-person

training, which DiCiurcio refused. On November 6, 2019, the FAA sent DiCiurcio written

guidance on safe flying. On November 20, 2019, the FAA issued DiCiurcio a warning notice

and provided additional educational materials highlighting the rules and regulations for safe

sUAS flying.

     17.     The complaint I received on or about January 29, 2020, for which I opened

Enforcement Case 2020EA170009, provided a link to DiCiurcio’s YouTube channel,

PhillyDroneLife. I enlisted my colleague, Aviation Safety Technician Joseph Downey, to assist

in my investigation. Together, we watched livestreamed YouTube videos on PhillyDroneLife
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that were posted since the FAA had sent DiCiurcio the warning letter and educational material

on November 20, 2019. Videos had been posted almost daily since then. AST Downey and I

watched dozens of videos to identify regulatory violations occurring during DiCiurcio’s flights.

Most, if not all, of the videos showed regulatory violations and careless and reckless sUAS

flying. We selected several of the most blatant examples of careless and reckless sUAS flying,

including: operating in Class B airspace (i.e., near the Philadelphia International Airport)

without authorization; operating at night; operating over human beings; operating in adverse

weather; and operating in non-line of sight.

     18.     The eleven videos we selected were saved by my colleague AST Downey to

DVDs and included in our investigative report for Enforcement Case 2020EA170009.

     19.     Based on my review of the videos, and the result of the earlier investigation, I

concluded that DiCiurcio posed a threat. Therefore, on February 7, 2020, we sent a Letter of

Investigation to DiCiurcio’s residence notifying him of our concerns and requesting a response

within ten days. On March 12, 2020, DiCiurcio called the Flights and Standards Office and left

a voicemail requesting a return phone call.

     20.     On March 12, 2020, I contacted DiCiurcio by telephone. DiCiurcio asked me

what “reckless operations” means, and at his request I described to him examples of the

regulatory violations I had seen in the videos of his flights posted on his YouTube channel,

including: flying over 400 feet, flying over people, and flying in adverse weather. DiCiurcio

responded that he “knows the rules,” and ended the call.

     21.     On July 20, 2020, the Philadelphia Flight and Standards Office received another

complaint regarding the unsafe operation of DiCiurcio’s sUAS on May 4, 2020. We opened

Enforcement Case 2020EA170016. My colleagues and I repeated the process of viewing the
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videos posted to DiCiurcio’s YouTube channel since my conversation with him on March 12,

2020. DiCiurcio was still posting videos almost daily. Most, if not all, demonstrated safety

violations. I selected twenty-three of the worst examples for preservation. By this time, the

FAA had established the Cyber Investigations Branch. I sent a request to the branch that they

download the videos for preservation.

      22.      On July 29, 2020, my office sent a second Letter of Investigation to DiCiurcio

related to the videos he posted since my last conversation with him on March 12, 2020. We did

not receive a response from DiCiurcio.

      23.      My office forwarded two Enforcement Investigative Reports (“EIR”) relating to

Enforcement Case 2020EA170009, and Enforcement Case 2020EA170016, to the Northeast

Team Aviation Litigation Division, which assigned Judith Vaughan, Senior Attorney of the

Northeast Team Aviation Litigation Division, to the matter. Ms. Vaughan notified DiCiurcio in

a letter dated November 5, 2020, of specific regulatory violations he had committed, and that

he owed a substantial penalty for those violations.

      24.      Following Ms. Vaughan’s November 5, 2020 letter notifying him of the penalty,

on December 16, 2020, Judith Vaughan and I conducted a phone call with DiCiurcio. During

the phone call DiCiurcio admitted to flying the sUAS flights depicted on his YouTube channel

PhillyDroneLife; he also acknowledged receipt of the FAA’s warning letters. DiCiurcio was

informed that he would be assessed with a fine for the regulatory violations occurring during

his flights.

      25.      On the phone call with DiCiurcio, he stated, “yes I’m the guy flying my drones,”

and added, “I use my drone as a hobbyist for fun only.” When asked what Community Based

Organization he is associated with, DiCiurcio stated he is “non-denominational,” that he is not
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 a member of any organization and did not get any training. DiCiurcio stated, “well, I have

 received a lot of letters from the FAA and I guess I did get an educational and warning letter.”

 DiCiurcio stated that “yes, I agree,” that the flights described in the letters are accurate, and

 added, “but I need to look at it case by case, like the only flying in rain and wind, I don’t fly in

 the rain and DJI has protections built into the drones. Also, that I thought I could fly 400’

 above a 400 foot building and I thought center city was class G airspace.”

       26.     With respect to the FAA $182,004.00 fine for violations identified in

 Enforcement Cases 2020EA170009 and EA170016, during the telephone call DiCiurcio stated

 that his only income came from his YouTube channel and that he could not afford to pay the

 fine. The fine has not been paid. In videos I have viewed since this December 16, 2020

 conference call, DiCiurcio has made several statements on his YouTube channel that he will

 never pay any fines from the FAA and will not change his flight habits.

       I declare under penalty of perjury under the laws of the Commonwealth of Pennsylvania

that the foregoing is true and correct.
                                                    MICHAEL D.             Digitally signed by MICHAEL D.

       02/08/2024
 Date: ______________                               BAUER
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                                                                           Date: 2024.02.08 10:36:41 -05'00'

                                                   MICHAEL D. BAUER
                                                   Principal Maintenance Inspector
                                                   Philadelphia Flight Standards District Office
                                                   Federal Aviation Administration
